Case 1:21-cv-00296-CMH-JFA Document 155 Filed 03/15/22 Page 1 of 2 PageID# 5758


                                                             FILED: March 15, 2022

                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT

                                   ___________________

                                     No. 22-1280
                              (1:21-cv-00296-CMH-JFA)
                                ___________________

  COALITION FOR TJ

               Plaintiff - Appellee

  v.

  FAIRFAX COUNTY SCHOOL BOARD

               Defendant - Appellant

  and

  SCOTT BRABAND, in his official capacity as Superintendent of the Fairfax
  County School Board

               Defendant


 This case has been opened on appeal.

  Originating Court                        United States District Court for the
                                           Eastern District of Virginia at
                                           Alexandria
  Originating Case Number                  1:21-cv-00296-CMH-JFA
  Date notice of appeal filed in           03/14/2022
  originating court:
  Appellant(s)                             Fairfax County School Board
  Appellate Case Number                    22-1280
Case 1:21-cv-00296-CMH-JFA Document 155 Filed 03/15/22 Page 2 of 2 PageID# 5759


  Case Manager                        Cathi Bennett
                                      804-916-2702
